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                      Exhibit 5
           Case 1:25-cr-00257           Document 107-5               Filed on 07/01/25 in TXSD          Page 2 of 2




From:                               Sturgis, James (USATXS) <James.Sturgis@usdoj.gov>
Sent:                               Wednesday, June 25, 2025 9:35 AM
To:                                 Robert Guerra; Crispin Quintanilla; Chip Lewis; Jason Davis; Trey Martinez; Garcia, Laura
                                    (USATXS)
Subject:                            Re: Jensen Case



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   opening attachments or taking further action, before validating its authenticity.


At this point that is not acceptable. If there are documents they need that she has then please let us know and we
can try to make arrangements. I believe the agents will likely be making contact with her this morning so let us
know if things are needed.
Thanks
James


From: Robert Guerra <rguerra@rguerralaw.com>
Sent: Wednesday, June 25, 2025 9:27:00 AM
To: Crispin Quintanilla <cj@quintanilla-law.com>; Sturgis, James (USATXS) <James.Sturgis@usdoj.gov>; Chip Lewis
<chip@chiplewislaw.com>; Jason Davis <jdavis@dslawpc.com>; Trey Martinez <trey@mbmtlawfirm.com>; Garcia, Laura
(USATXS) <Laura.Garcia@usdoj.gov>
Subject: [EXTERNAL] RE: Jensen Case

James/Laura,

Additionally, our clients need to get their taxes prepared and filed. Is it ok for them to communicate with their
CPA, Gloria Moreno, for the purposes of getting their taxes done? Please advise as to the Government’s position
on this as well.

Rob




                   www.rguerralaw.com ● rguerra@rguerralaw.com ● 956.254.0694

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